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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


 MARIAH MOORE                                          CIVIL ACTION NO. 21-714

                    Plaintiff,                         JUDGE: JTM

 VERSUS                                                MAGISTRATE JUDGE: MBN

 ACUITY, A MUTUAL INSURANCE                            SECTION: “H” (5)
 COMPANY and JULIE ALBRECHT

                    Defendants.

                   ANSWER, AFFIRMATIVE DEFENSES, AND JURY DEMAND
                      OF ACUITY, A MUTUAL INSURANCE COMPANY

         NOW INTO COURT, through undersigned counsel, comes Defendant, Acuity, a Mutual

Insurance Company (“Acuity”), who hereby answers the Petition of Plaintiff, Mariah Moore,

removed from the Civil District Court for Orleans Parish, Louisiana as follows.

                                                  I.

                                             ANSWER

         Defendant denies all allegations and conclusions in Plaintiff’s Petition for Damages not

expressly admitted herein, including all allegations in the opening paragraph and all

misnumbered/unnumbered paragraphs of the Petition.

                                                 1.

         Defendant responds to the allegations in Paragraph 1 of the Petition as follows.

         (a) Acuity admits it is a foreign insurance company domiciled in Wisconsin;

         (b) Defendant denies the allegations of Part (b) of Paragraph 1 for lack of sufficient

              knowledge and information to form a belief therein.




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                                                  2.

         Paragraph 2 of the Petition contains mixed allegations of fact and conclusions of law, which

require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 2.

                                                  3.

         Defendant denies the allegations of Paragraph 3 of the Petition for lack of sufficient

information or knowledge to form a belief therein.

                                                  4.

         Defendant denies the allegations of Paragraph 4 of the Petition for lack of sufficient

information or knowledge to form a belief therein.

                                                  5.

         Defendant denies the allegations of Paragraph 5 of the Petition for lack of sufficient,

specific information or knowledge to form a belief therein.

                                                  6.

         Paragraph 6 of the Petition contains mixed allegations of fact and conclusions of law, which

require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 6 for lack of sufficient, specific information or

knowledge to form a belief therein.

                                                  7.

         Paragraph 7 of the Petition contains mixed allegations of fact and conclusions of law about

“liability insurance.” Insofar as a response is required of Acuity, Acuity admits only that it issued

a policy for liability insurance, Policy No. P69586-1, to Julie Albrecht, for a policy period inclusive

of March 11, 2020, the date of Plaintiff Moore’s alleged incident. Acuity pleads the terms,
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conditions, definitions, exclusions, limitations, and endorsements of the policy, as if copied herein

in extenso. The remaining allegations asserted in Paragraph 7 are denied.

                                                  8.

         Paragraph 8 of the Petition contains mixed allegations of fact and conclusions of law, which

require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 8.

                                                  9.

         Paragraph 9 of the Petition contains mixed allegations of fact and conclusions of law, which

require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 9 for lack of sufficient, specific information or

knowledge to form a belief therein.

                                                 10.

         Paragraph 10 of the Petition contains mixed allegations of fact and conclusions of law,

which require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 10.

                                                 11.

         Paragraph 11 of the Petition contains mixed allegations of fact and conclusions of law,

which require no response. Insofar as a response is required of Defendant, Defendant denies all

allegations and conclusions in Paragraph 11.

                                                 12.

         The allegations following Paragraph 11 of Plaintiff’s Petition or “Prayer” require no

response from Acuity. Insofar as the Court finds a response is required, Acuity denies all the

allegations and any relief sought in this unnumbered Paragraph.
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                                                   13.

         Acuity denies all allegations in Plaintiff’s Petition for Damages/Complaint not expressly

admitted here, including all allegations of fact and conclusions of law in Plaintiff’s “Wherefore”

paragraph, Prayer for relief, any opening paragraphs and/or mis/unnumbered paragraphs.

                                                   II.

                                           JURY DEMAND

         Defendant desires and is entitled to a trial by jury on all issues.

                                                   III.

                                    AFFIRMATIVE DEFENSES

         AND NOW in further answer to the Petition of Plaintiff Moore, Acuity asserts the

following defenses in the alternative, undertaking the burden of proof only as to those defenses

deemed affirmative defenses by law.           In addition to the defenses asserted below, Acuity

specifically reserves all rights to assert any other or additional defenses that are now or may

become available or appear during, or as a result of, discovery, other proceedings, or further

investigation.

                                FIRST AFFIRMATIVE DEFENSE

         Defendant denies that any party for whom it is deemed to be responsible was negligent,

individually or jointly, in connection with any of the incidents alleged in the Petition.

                                SECOND AFFIRMATIVE DEFESE

         The alleged damages of the Plaintiff, if any, were not caused by any fault, negligence, or

liability attributable to Defendants, but instead were caused solely and proximately through the

negligence and/or comparative negligence of the Plaintiff, including but not limited to, the acts of

negligence listed below and others to be shown at trial:
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         a)        failing to exercise reasonable care under the circumstances prevailing at the time
                   of the accident;

         b)        failing to take proper precautions to avoid the accident and her alleged injuries;

         c)        failing to do any act by which the accident made the basis of this lawsuit could
                   have been avoided;

         d)        failing to act as a reasonable and prudent person would act under the same or
                   similar circumstances;

         e)        failing to be attentive to her surroundings and to act in a prudent and cautious
                   manner for the protection of life and limb;

         f)        failing to keep a proper lookout;

         g)        failing to see what should have been seen;

         h)        failing to take the last clear chance to avoid the accident;

         i)        misuse and/or abuse of a motor vehicle; and

         j)        any and all other acts and/or omissions constituting negligence and/or fault and/or
                   liability which may be shown at the trial of this matter.

                                  THIRD AFFIRMATIVE DEFENSE

         Accordingly, Defendant specifically pleads the defenses of contributory negligence,

comparative negligence, victim fault, and assumption of the risk.

                                FOURTH AFFIRMATIVE DEFENSE

         Further, in the alternative and without limitation to the foregoing, Defendant avers the

damages suffered by the Plaintiff, if any, were caused totally and entirely by the negligence, fault

or action, of persons, entities, or corporations for whom Defendant neither had nor have any

responsibility. Any damages awarded to the Plaintiff should be reduced proportionately by the

percentage of fault of all released or prospectively released joint and/or solidary obligors, whether

named or not named as parties to the lawsuit.


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                               FIFTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant avers that, if

the Plaintiff sustained any injuries as alleged in the Petition, such injuries and damages arose out

of certain risks, dangers, and hazards, the specifics of which are more particularly outlined in the

above Second Affirmative Defense and incorporated herein by reference, all of which were plain,

observable, open, obvious, and well known to the Plaintiff at the time of the alleged incident and

injury. All of said risks, dangers, and hazards were assumed by the Plaintiff, and, thus, Defendant

is not liable therefore.

                               SIXTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant specifically

denies the incident occurred as alleged by the Plaintiff in her Petition.

                             SEVENTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant avers that no

alleged wrongful act or omission by Julie Albrecht was the cause-in-fact or the proximate cause

of Plaintiff’s alleged injuries or other damages.

                              EIGHTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Plaintiff’s claims are

barred by the doctrines of estoppel, laches, and/or waiver.

                               NINTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Plaintiff’s claims are

barred based upon the defense of intervening and/or superseding causation.

                               TENTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant avers it has no
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responsibility or liability for the damages complained of and the alleged incident occurred.

                            ELEVENTH AFFIRMATIVE DEFENSE
          In the alternative and without limitation to any of the foregoing, Defendant pleads the

negligence and/or fault of third parties, including but not limited to the other possible unknown

drivers, parties for whom Defendants are not responsible, whose negligence and/or fault was the

substantial cause-in-fact of Plaintiff’s damages, if any, and should operate to completely bar

recovery against these Defendants or, alternatively, to reduce recovery by comparative fault.

                             TWELFTH AFFIRMATIVE DEFENSE

          In the alternative and without limitation to any of the foregoing, Plaintiff’s claims are

barred or reduced by the failure of Plaintiff to mitigate her alleged damages.

                           THIRTEENTH AFFIRMATIVE DEFENSE

          In the alternative and without limitation to any of the foregoing, Defendant avers it is

entitled to a credit or offset equal to the policy limits of any and all liability insurance or self-

insurance which may be applicable to Plaintiff’s claims. Furthermore, Defendant is entitled to a

credit or offset for any payments made to the Plaintiff by any party, individual, insurance, or other

entity.

                          FOURTEENTH AFFIRMATIVE DEFENSE

          In the alternative and without limitation to any of the foregoing, Defendant specifically

asserts it did not and has not breached any duty allegedly owed to Plaintiff.

                            FIFTEENTH AFFIRMATIVE DEFENSE
          In the alternative and without limitation to any of the foregoing, Defendant submits any

injuries or damages allegedly suffered by Plaintiff, all of which are denied, were not caused by the



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alleged incident of March 11, 2020, but are attributable to other incidents or pre-existing

conditions.

                            SIXTEENTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant pleads all

affirmative defenses enumerated in La. C.C.P. art. 1005 relevant or potentially relevant to

Plaintiff’s Petition including, without limitation, fault of the Plaintiff and others, extinguishment

of the obligation, illegality, and injury.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, it is furthermore

affirmatively alleged that Plaintiff has or may have received payment of medical expenses and/or

other benefits under a policy or policies of health, accident, medical and/or hospitalization

insurance, Medicare or Medicaid benefits, and/or at a charity hospital or other governmental

hospital and/or worker's compensation insurance, and has subrogated her rights and claims for

payment of said benefits and expenses to the person, firm, corporation or entity issuing said policy

or benefits and, therefore, has no right of action against Defendant for any amounts so paid.

                           EIGHTEENTH AFFIRMATIVE DEFENSE

         In the alternative, and without limitation to any of the foregoing, Acuity asserts that any

insurance policy deemed to be at issue in this matter is the best evidence of its own contents and,

pleading any said policy, the contents, exclusions, and language contained therein as if copied

herein verbatim, Acuity objects to and denies any attempt or variance therewith which tends to

modify, enlarge, expand or alter any of the terms, conditions, exclusions or limitations of liability

contained in any said policy.



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                           NINETEENTH AFFIRMATIVE DEFENSE

         In the alternative and without limitation to any of the foregoing, Defendant affirmatively

pleads all defenses pursuant to La. R.S. 32:866 and all other Louisiana laws governing the

minimum insurance limits required of Plaintiff, commonly referred to as “no pay, no play.”

                           TWENTIETH AFFIRMATIVE DEFENSE

         In addition, and without limitation to the foregoing, Defendant respectfully reserves the

right to amend its Answer and/or to file a counterclaim, cross claim, third party claim, or other

pleadings as may be appropriate.

                         TWENTY-FIRST AFFIRMATIVE DEFENSE

         Defendant further gives notice it intends to rely on any other affirmative defense that

becomes available by law or during discovery in this case, and they hereby reserve rights to amend

this Answer to assert such defenses.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

         Defendant hereby adopts all defenses and affirmative defenses, if any, not specifically set

out in this Answer but asserted by any other defendant in this case at any time during the course

of this litigation where not inconsistent with Defendant’s defenses.

         WHEREFORE, Defendant, Acuity, a Mutual Insurance Company, prays that its Answer

to Plaintiff’s Petition, removed from the Civil District Court of Orleans Parish, Louisiana, be

deemed good and sufficient, and judgment be issued in Defendant’s favor dismissing Plaintiff’s

Petition with full prejudice, at Plaintiff’s sole cost and expense, and for all other general, equitable,

and statutory relief that may be warranted.




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                                     Respectfully submitted,

                                     /s/ Rachal Chance Kramar

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